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                                                                                               01/07/2025




Jon L. Norinsberg, Esq.
jon@norinsberglaw.com
                                                                    January 6, 2025
VIA ECF
                                  APPLICATION GRANTED: The Initial Conference set
Hon. Dale E. Ho
United States District Judge      for 1/14/2025 at 10:00 AM in Courtroom 17D, 500 Pearl
United States District Court      Street, New York, NY 10007 is hereby rescheduled to
Southern District of New York     Thursday, February 13, 2025 at 2:00 p.m.
United States Courthouse
40 Foley Square, Room 905
New York, N.Y. 10007


                Re: Turner v. The Weed Shoppe, Inc.
                    Case No. 1:24-cv-7995 (DEH) (KHP)                                 01/07/2025
                    Status Letter


Dear Honorable Dale E. Ho:

          We represent Plaintiff Tavon Turner in the above-referenced matter. We write in
response to the Hon. Katherine H. Parker’s Order dated October 25, 2024, relating to the scheduled
Initial Case Management Conference on January 14, 2025, and requiring the Parties to discuss
whether they are willing to consent under 28 U.S.C. § 636(c) to conduct all further proceedings
before an assigned Magistrate Judge, as well as to comply with the relevant Fed.R.Civ.P. prior to
the scheduled hearing.

          Plaintiff initiated this action by filing a Complaint on October 21, 2024 [ECF No. 1]. On
November 25, 2024, the affirmation of service was filed [ECF No. 8]. Defendant was required to
answer or otherwise respond to the Complaint on or before December 22, 2024 [ECF No. 9]. To
date, neither Defendant nor any other person has filed the requisite Notice of Appearance, nor has
anyone filed an Answer or response to the initial Complaint.

         We respectfully request that Your Honor adjourn the hearing until such a time that such
hearing would be feasible. We assure the Court that we are prepared to comply with all deadlines
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and procedures. Specifically, it is our intention to file a motion for Default Judgment against the
Defendant by the end of this week, should the Defendant fail to appear. We respectfully request
that the Court not dismiss this case and allow us the opportunity to proceed with the prosecution
of this matter.

         Thank you for Your Honor’s attention to this matter.




                                                                   Respectfully submitted,

                                                             JOSEPH & NORINSBERG, LLC

                                                                   Sincerely,




                                                                _______________________
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